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6

7
                       UNITED STATES DISTRICT COURT
8
                      CENTRAL DISTRICT OF CALIFORNIA
9

10
      UNITED AFRICAN-ASIAN                  Case #: 2:23-cv-01684-ODW-JC
11    ABILITIES CLUB, ON BEHALF
      OF ITSELF AND ITS MEMBERS;            NOTICE OF SETTLEMENT OF
12
      ANNA MARIE WIGGINS, An                THE CASE IN ITS ENTIRETY
13    Individual, ON BEHALF OF
14
      ROBERT AARON MCKISSICK
                                            [Local Rule]
15                      Plaintiffs,
16
            v.
17

18    427 S MARIPOSA PARTNERS LP;
      and DOES 1 THROUGH 10,
19
      Inclusive
20              Defendants
21

22

23   ///
24   ///
25   ///
26   ///
27   ///
28
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1
            Plaintiffs hereby provide Notice to the court that all the parties to this action
2
     have settled this matter which will cause the matter to be dismissed with prejudice
3
     in its entirety. Upon exchange of the signed written settlement documents, the
4
     Parties intend to thereafter file a Dismissal With Prejudice of The Entire Case.
5
     Plaintiffs request a settlement disposition conference within 30 days of today’s
6
     date which can be deemed vacated if the filing of dismissal documents occurs prior
7
     to that date.
8

9
     Dated: 06-08-2023                       Lightning Law, APC
10
                                      By: _/S/ David C. Wakefield__________
11
                                            David C. Wakefield, Esq.
12                                          Attorney for Plaintiffs
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1                                   PROOF OF SERVICE
2    STATE OF CALIFORNIA, COUNTY OF SAN DIEGO
            I employed in the County of San Diego, State of California. I am over the
3
     age of 18 and not a party to the within action. My business address is 10620
4    Treena Street, Suite 230, San Diego, CA 92131. On the date stated below, I served
     the documents described below in the manner indicated below on all interested
5
     parties as stated on the attached service list:
6

7
        1. NOTICE OF SETTLEMENT OF THE CASE IN ITS ENTIRETY

8

9
     ____ BY MAIL - I deposited such envelope in the mail at San Diego, California.
     The envelope was mailed with postage thereon fully prepaid. I am “readily familiar”
10   with the firm’s practice of collection and processing correspondence for mailing.
11   Under that practice it would be deposited with the U.S. Postal Service on that same
     day with postage thereon fully prepaid at San Diego, California in the ordinary
12
     course of business. I am aware that on motion of the party served, service is
13   presumed invalid if postal cancellation date or postage meter date is more than one
     (1) day after date of deposit for mailing in affidavit.
14

15   ____ BY PERSONAL SERVICE – I caused such envelope to be delivered by a
16
          process server employed by ____

17   ____ VIA FACSIMILE – I faxed said document, to the office(s) of the
18        addressee(s) shown above, and the transmission was reported as complete and
          without error.
19

20   XX    BY ECF ELECTRONIC TRANSMISSION – I transmitted a PDF version
           of this document by electronic transmission to the party (s) identified on the
21
           attached service list using the court supported ECF e-mail to the address(s)
22         indicated.
23
     ____ BY OVERNIGHT DELIVERY – I deposited such envelope for collection
24        and delivery by the Federal Express with delivery fees paid or provided for in
25
          accordance with ordinary business practices. I am “readily familiar” with the
          firm’s practice of collection and processing packages for overnight delivery
26        by Federal Express. They are deposited with a facility regularly maintained
27        by Federal Express for receipt on the same day in the ordinary course of
          business.
28
     ____ (State)      I declare under penalty of perjury under the laws of the State of
     Case 2:23-cv-01684-ODW-JC Document 12 Filed 06/08/23 Page 4 of 4 Page ID #:72



1                      California that the above is true and correct.
2    XX    (Federal)   I declare that I am employed in the office of a member of the
                       bar of this Court at whose direction the service was mad.
3

4    Executed on 06-08-2023 at San Diego, California.
5
                                    /s/_David C. Wakefield________
6                                   DAVID C. WAKEFIELD
7

8                                   SERVICE LIST
9
     Kensley A. Davis, Esq.
10

11
     Jackson Lewis P.C.

12   725 South Figueroa Street, Suite 2500
13   Los Angeles, CA 90017
14
     Tel: (213) 689-0404
15
     Email: Kensley.Davis@jacksonlewis.com
16

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     Attorneys for Defendant

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